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           10                                   NORTHERN DISTRICT OF CALIFORNIA
                                                    SAN FRANCISCO DIVISION
           11
                    CITY OF OAKLAND, a Municipal                       Case No. 3:17-cv-6011-WHA
           12       Corporation, and THE PEOPLE OF THE
                    STATE OF CALIFORNIA, acting by and                 DEFENDANTS’ NOTICE OF APPEAL
           13       through the Oakland City Attorney BARBARA
                    J. PARKER,
           14
                                  Plaintiffs,
           15
                           v.
           16
                    BP P.L.C., a public limited company of
           17       England and Wales; CHEVRON
                    CORPORATION, a Delaware corporation;
           18       CONOCOPHILLIPS COMPANY, a Delaware
                    corporation; CONOCOPHILLIPS; EXXON
           19       MOBIL CORPORATION, a New Jersey
                    corporation; ROYAL DUTCH SHELL PLC, a
           20       public limited company of England and Wales;
                    and DOES 1 through 10,
           21
                                  Defendants.
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Crutcher LLP
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               1                                          NOTICE OF APPEAL

               2          Notice is hereby given that Defendants BP P.L.C.; Chevron Corporation; ConocoPhillips

               3   Company; ConocoPhillips; Exxon Mobil Corporation; and Shell plc (f/k/a Royal Dutch Shell plc) in

               4   the above captioned case, pursuant to 28 U.S.C. §§ 1291 and 1447(d), hereby appeal to the United

               5   States Court of Appeals for the Ninth Circuit from the Order entered in this action on the 24th day of

               6   October, 2022, granting Plaintiffs’ Motion to Remand. (ECF No. 434).1

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               9                                                Respectfully submitted,

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           27      1
                       This Notice of Appeal is submitted subject to and without waiver of any defense, affirmative
           28      defense, or objection, including personal jurisdiction, insufficient process, or insufficient service of
                   process.
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                                                       ** Pursuant to Civ. L.R. 5-1(i)(3), the electronic
           23                                          signatory has obtained approval from this
                                                       signatory.
           24

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Gibson, Dunn &
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               1                                    REPRESENTATION STATEMENT
               2          Pursuant to Rule 12(b) of the Federal Rules of Appellate Procedure and Circuit Rules 3-2(b)

               3   and 12-2, Defendants submit this Representation Statement. The following list identifies all parties
               4   to the action, and also identifies their respective counsel by name, firm, address, telephone number,
               5
                   and e-mail, where appropriate.
               6

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               9    the State of California, acting by and          Zoe M. Savitsky
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                      Case 3:17-cv-06011-WHA Document 435 Filed 11/21/22 Page 8 of 9


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